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 NS/md

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 17-20275-CR-UNGARO


 UNITED STATES OF AMERICA,

 vs.

 KEVIN C. FUSCO,

                Defendant.
 - - - - - - - - - - -I
                                 NOTICE OF APPEARANCE

         The United States of America hereby gives notice that Assistant United States Attorney

 Nalina Sombuntham has been assigned responsibility of matters related to criminal forfeiture in

 the above-captioned case.

                                             Respectfully submitted,

                                             BENJAMIN G. GREENBERG
                                             ACTING UNITED ST ATES ATTORNEY

                                      By:    s/ Nalina Sombuntham      i/J,
                                             Nalina Sombuntham         /
                                             Assistant United States Attorney
                                             Fla. Bar No. 96139
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                                             Miami, Florida 33132-2111
                                             Telephone: (305) 961-9224
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                                             nalina.sombuntham2@usdoj .gov
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on May 4, 2017, I electronically filed the foregoing Notice

 of Appearance with the Clerk of the Court using CM/ECF.

                                           s/ Nalina Sombuntham
                                           Nalina Sombuntham
                                           Assistant United States Attorney




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